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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


DON PLUMLEE, JAKIE HANAN, and
PETE EDWARDS, on behalf of themselves
and all others similarly situated                                                 PLAINTIFFS

       v.                           NO. 4:22-CV-638-KGB

STEEP HILL, INC.; STEEP HILL ARKANSAS;
BRENT WHITTINGTON; BRANDON THORNTON;
BOLD TEAM, LLC; NSMC-OPCO, LLC D/B/A
NATURAL STATE MEDICINAL; OSAGE CREEK
CULTIVATION, LLC; and JOHN DOES 1–10                                            DEFENDANTS


                   SEPARATE DEFENDANT NSMC-OPCO, LLC’S
            MOTION TO DISMISS PLAINTIFFS’ CLASS ACTION COMPLAINT


       Comes now Separate Defendant NSMC-OPCO, LLC, by and through its attorneys, Barber

Law Firm PLLC, and for its Motion to Dismiss Plaintiffs’ Class Action Complaint, states:

       1.      Plaintiffs Don Plumlee, Jakie Hanan, and Pete Edwards (collectively, “Plaintiffs”)

assert six (6) causes of action against Defendant NSMC-OPCO, LLC (“NSMC”).                  More

particularly, Plaintiffs assert five (5) claims under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”) and one (1) state-law based claim alleging fraud and violations of the

Arkansas Deceptive Trade Practices Act (“ADTPA”).

       2.      The Court should dismiss each of Plaintiffs’ claims pursuant to Fed. R. Civ. P.

12(b)(6).

       3.      First, Plaintiffs have not (and cannot) pled facts that would satisfy even the most

basic requirements of the RICO statute in that they have not alleged any cognizable property

damage, nor have they alleged that any such damage was caused by NSMC. For that reason,

Plaintiffs lack standing to assert RICO claims.

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       4.      Second, even if the Plaintiffs could plead such facts (which they cannot), Plaintiffs’

RICO claims are barred by the doctrine of in pari delicto. Plaintiffs’ own allegations confirm they

purchased, possessed, consumed, transported, and facilitated the testing of marijuana in violation

of the Controlled Substances Act and, as a result, are either complicit in any alleged RICO violation

or, at the very least, have committed exactly the same offenses Plaintiffs allege serve as the

foundation of this lawsuit.

       5.      Third, Plaintiffs’ claims should be dismissed because, in order to fashion the

remedy Plaintiffs seek, which includes, among other things, a request for disgorgement of

marijuana profits to be placed into a “common fund” (Complaint, at ¶ 73), this Court would

necessarily be required to order the transfer of federally-illegal proceeds earned from a federally-

illegal marijuana operation to individuals who admittedly purchased, possessed, transported, and

facilitated the testing of federally-illegal marijuana based on alleged damages tied to the marijuana

they purchased. Such a remedy would unquestionably contravene public policy and the underlying

purpose of RICO.

       6.      Finally, the state-law claims should be dismissed because the Complaint fails to

satisfy the heightened pleading requirements of the Federal Rules of Civil Procedure.

       7.      NSMC incorporates by reference its Brief in Support of its Motion to Dismiss

Plaintiffs’ Class Action Complaint herein as if set forth word-for-word.

       WHEREFORE, Defendant NSMC-OPCO, LLC respectfully requests that the Court grant

its Motion to Dismiss Plaintiffs’ Class Action Complaint and for all other just and proper relief to

which it may be entitled.




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                            Respectfully submitted,

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